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Table H-14A.
U.S. District Courts—Pretrial Services Release and Detention, Excluding Immigration Cases
For the 12-Month Period Ending September 30, 2019
                                                 Detained and Never Released 2                      Released 3
  Circuit and District     Cases 1                 Total                   Pct.             Total                 Pct.

        TOTAL                        62,803                 38,332                61.0               24,471               39.0

1ST                                   2,240                  1,285                57.4                  955               42.6
      ME                                233                     85                36.5                  148               63.5
      MA                                619                    319                51.5                  300               48.5
      NH                                221                     97                43.9                  124               56.1
      RI                                116                     54                46.6                   62               53.4
      PR                              1,051                    730                69.5                  321               30.5
2ND                                   3,300                  1,518                46.0                1,782               54.0
      CT                                444                    162                36.5                  282               63.5
      NY,N                              320                    203                63.4                  117               36.6
      NY,E                              660                    289                43.8                  371               56.2
      NY,S                            1,248                    601                48.2                  647               51.8
      NY,W                              438                    176                40.2                  262               59.8
      VT                                190                     87                45.8                  103               54.2
3RD                                   2,901                  1,454                50.1                1,447               49.9
      DE                                 81                     51                63.0                   30               37.0
      NJ                              1,145                    488                42.6                  657               57.4
      PA,E                              738                    415                56.2                  323               43.8
      PA,M                              285                    169                59.3                  116               40.7
      PA,W                              550                    287                52.2                  263               47.8
      VI                                102                     44                43.1                   58               56.9
4TH                                   5,089                  2,833                55.7                2,256               44.3
      MD                                606                    349                57.6                  257               42.4
      NC,E                              937                    614                65.5                  323               34.5
      NC,M                              349                    207                59.3                  142               40.7
      NC,W                              467                    340                72.8                  127               27.2
      SC                                605                    273                45.1                  332               54.9
      VA,E                            1,196                    527                44.1                  669               55.9
      VA,W                              276                    164                59.4                  112               40.6
      WV,N                              308                    126                40.9                  182               59.1
      WV,S                              345                    233                67.5                  112               32.5




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Table H-14A. (September 30, 2019—Continued)

                                              Detained and Never Released 2                   Released 3
  Circuit and District    Cases 1               Total                   Pct.          Total                Pct.
5TH                                 12,497                8,849                70.8             3,648             29.2
      LA,E                             264                  164                62.1               100             37.9
      LA,M                             127                   68                53.5                59             46.5
      LA,W                             232                  148                63.8                84             36.2
      MS,N                             184                   79                42.9               105             57.1
      MS,S                             459                  299                65.1               160             34.9
      TX,N                             985                  579                58.8               406             41.2
      TX,E                             658                  474                72.0               184             28.0
      TX,S                           5,017                3,752                74.8             1,265             25.2
      TX,W                           4,571                3,286                71.9             1,285             28.1
6TH                                  5,142                2,970                57.8             2,172             42.2
      KY,E                             458                  298                65.1               160             34.9
      KY,W                             355                  195                54.9               160             45.1
      MI,E                             747                  310                41.5               437             58.5
      MI,W                             314                  182                58.0               132             42.0
      OH,N                             787                  473                60.1               314             39.9
      OH,S                             715                  310                43.4               405             56.6
      TN,E                             872                  667                76.5               205             23.5
      TN,M                             277                  137                49.5               140             50.5
      TN,W                             617                  398                64.5               219             35.5
7TH                                  2,573                1,486                57.8             1,087             42.2
      IL,N                             834                  398                47.7               436             52.3
      IL,C                             248                  180                72.6                68             27.4
      IL,S                             282                  161                57.1               121             42.9
      IN,N                             337                  240                71.2                97             28.8
      IN,S                             559                  370                66.2               189             33.8
      WI,E                             227                  102                44.9               125             55.1
      WI,W                              86                   35                40.7                51             59.3




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Table H-14A. (September 30, 2019—Continued)

                                              Detained and Never Released 2                   Released 3
  Circuit and District    Cases 1               Total                   Pct.          Total                Pct.
8TH                                  5,523                3,512                63.6             2,011             36.4
      AR,E                             473                  202                42.7               271             57.3
      AR,W                             236                  176                74.6                60             25.4
      IA,N                             328                  207                63.1               121             36.9
      IA,S                             470                  300                63.8               170             36.2
      MN                               359                  194                54.0               165             46.0
      MO,E                           1,588                1,150                72.4               438             27.6
      MO,W                             858                  595                69.3               263             30.7
      NE                               426                  249                58.5               177             41.5
      ND                               251                  134                53.4               117             46.6
      SD                               534                  305                57.1               229             42.9
9TH                                 14,592                9,381                64.3             5,211             35.7
      AK                               168                  105                62.5                63             37.5
      AZ                             2,904                1,718                59.2             1,186             40.8
      CA,N                             730                  309                42.3               421             57.7
      CA,E                             487                  313                64.3               174             35.7
      CA,C                           1,417                  647                45.7               770             54.3
      CA,S                           6,290                5,149                81.9             1,141             18.1
      HI                               195                   74                37.9               121             62.1
      ID                               285                  168                58.9               117             41.1
      MT                               324                  162                50.0               162             50.0
      NV                               375                  192                51.2               183             48.8
      OR                               423                  188                44.4               235             55.6
      WA,E                             267                  144                53.9               123             46.1
      WA,W                             659                  198                30.0               461             70.0
      GUAM                              56                   11                19.6                45             80.4
      NM,I                              12                    3                25.0                 9             75.0




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Table H-14A. (September 30, 2019—Continued)

                                                                   Detained and Never Released 2                                  Released 3
   Circuit and District               Cases 1                        Total                   Pct.                        Total                      Pct.
10TH                                               3,795                       2,199                    57.9                        1,596                    42.1
       CO                                            463                         254                    54.9                          209                    45.1
       KS                                            428                         245                    57.2                          183                    42.8
       NM                                          1,300                         763                    58.7                          537                    41.3
       OK,N                                          281                         144                    51.2                          137                    48.8
       OK,E                                          119                          87                    73.1                           32                    26.9
       OK,W                                          514                         221                    43.0                          293                    57.0
       UT                                            535                         390                    72.9                          145                    27.1
       WY                                            155                          95                    61.3                           60                    38.7
11TH                                               5,151                       2,845                    55.2                        2,306                    44.8
       AL,N                                          361                         170                    47.1                          191                    52.9
       AL,M                                           95                          44                    46.3                           51                    53.7
       AL,S                                          239                         104                    43.5                          135                    56.5
       FL,N                                          354                         168                    47.5                          186                    52.5
       FL,M                                        1,193                         705                    59.1                          488                    40.9
       FL,S                                        1,613                         931                    57.7                          682                    42.3
       GA,N                                          531                         244                    46.0                          287                    54.0
       GA,M                                          326                         160                    49.1                          166                    50.9
       GA,S                                          439                         319                    72.7                          120                    27.3



NOTE: This table excludes data for the District of Columbia and includes transfers received.
NOTE: Includes data reported for previous periods on Table H-9.
1
  Data represents defendants whose cases were activated during the 12-month period. Excludes dismissals, cases in which release is not possible within 90 days,
2
  Includes data reported for previous periods as "never released."
3
  Includes data reported for previous periods as "later released," "released and later detained," and "never detained."




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